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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF LOUISIANA

       PHILLIP CALLAIS, LLOYD PRICE,
       BRUCE ODELL, ELIZABETH ERSOFF,
       ALBERT CAISSIE, DANIEL WEIR, JOYCE
       LACOUR, CANDY CARROLL PEAVY,
       TANYA WHITNEY, MIKE JOHNSON,
       GROVER JOSEPH REES, ROLFE
       MCCOLLISTER,                       No. 3:24-cv-00122-DCJ-CES-RRS

                            Plaintiffs,                RESPONSE TO PLAINTIFFS’ MOTION
                                                       FOR PRELIMINARY INJUNCTION BY
       v.                                              DEFENDANT SECRETARY OF STATE

       NANCY LANDRY, in her official capacity as
       Louisiana Secretary of State,

                            Defendant.


            Defendant Nancy Landry, in her official capacity as Louisiana Secretary of State

   (“Defendant”), hereby responds to Plaintiffs’ Motion for Preliminary Injunction, ECF No. 17, as

   follows:1

            La. Const. art. 4, § 7 provides that the Defendant “heads[s] the department and shall be the

   chief election officer of the state[,]” and that she “shall prepare and certify the ballots for all

   elections, promulgate all elections returns, and administer the election laws, except those relating

   to voter registration and custody of voting machines.” Defendant has no authority to draw

   congressional districts and has no personal knowledge of the motives of the legislature in its

   decision to ratify and enact S.B. 8. Defendant therefore takes no position on the merits of Plaintiffs’

   Motion for Preliminary Injunction at this time.




   1
    Counsel for Secretary Landry conferred with counsel for the State Intervenors this morning
   pursuant to this Court’s Order at ECF No. 79.
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            Defendant will administer congressional elections pursuant to current law unless otherwise

   ordered by this Court. Defendant hereby notifies the Court that she and her department will need

   an approved congressional plan no later than May 15, 2024, in order to have sufficient time and

   resources needed to administer congressional elections in 2024 pursuant to the schedule for

   congressional elections mandated by both federal and state law.

            Respectfully submitted, this the 27th day of February, 2024.

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                                                official capacity as Louisiana Secretary of State




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                                     CERTIFICATE OF SERVICE

             I hereby certify that on this the 27th day of February, 2024, the foregoing document was

   filed via the Court’s CM/ECF system which sent notice of the same to all counsel of record in this

   matter.

                                                /s/ Phillip J. Strach
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